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                                             COURTROOM MINUTE SHEET

                                                                                      DATE        1-10-2022

CIVIL NO.        CIV-14-665        –F

                                   Richard Glossip, et al. -vs- Randy Chandler, et al.


COMMENCED               8:00                ENDED   11:30
                                                                       TOTAL TIME          9 hrs. 40 min.
COMMENCED              12:45                ENDED    6:55


PROCEEDINGS                        Hearing on motion for preliminary injunction


JUDGE STEPHEN P. FRIOT                        DEPUTY LORI GRAY                REPORTER TRACY THOMPSON

PLFS’ COUNSEL James Stronski, Kenton Walker, Emma Rolls

DFTS’ COUNSEL Mithun Mansinghani, Bryan Cleveland, Andy Ferguson, Zach West


The court hears evidence with respect to the Emergency Motion for Preliminary Injunction on Behalf
Religious Objector Plaintiffs Donald Grant and Gilbert Postelle on the Supplemental Record of the Execution
of John Grant (doc. no. 551) and the Supplemental Motion for Preliminary Injunction on Behalf of Religious
Objector Plaintiffs Donald Grant and Gilbert Postelle (doc. no. 564).

WITNESSES FOR PLAINTIFFS                                        WITNESSES FOR DEFENDANTS

1. Julie Gardner (sworn) (in person)                            1. Justin Farris (sworn (in person)

2. Meghan LeFrancois (sworn) (in person)                        2. Dr. Ervin Yen (sworn) (in person)

3. Dr. Joseph Cohen (sworn) (via VTC)                           3. Dr. Joseph Antognini (sworn) (via VTC)

4. Dr. James Williams (sworn) (via VTC)                         4.

5. Dr. Michael Weinberger (sworn) (via VTC)                     5.

Plfs’ exhibits admitted: 97, 98, 10, 92, 47, 48, 54, 57, 65, 67, 68, 56, 49, 82, 71, 72, 75, 2, 66, 51.

Dfts’ exhibits admitted: 6, 13, 5, 3, 2, 7, 8, 9, 16.

The court hears arguments of counsel.

The court will issue a written order ruling on the Emergency Motion for Preliminary Injunction on Behalf of
Religious Objector Plaintiffs Donald Grant and Gilbert Postelle on the Supplemental Record of the Execution
of John Grant (doc. no. 551) and the Supplemental Motion for Preliminary Injunction on Behalf of Religious
Objector Plaintiffs Donald Grant and Gilbert Postelle (doc. no. 564).


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